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 1                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO
 2
 3
 4        UNITED STATES OF AMERICA,
 5
          Plaintiff
 6
          v.                                               CRIMINAL 07-0547 (ADC)
 7
 8        [110] JOSÉ SIERRA COLÓN,

 9        Defendant
10
11                 MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
               RE: RULE 11(c)(1)(A) AND (B) PROCEEDINGS (PLEA OF GUILTY)
12
13   I.        Personal Background
14             On June 3, 2008, José Sierra Colón, the defendant herein, was charged in a
15   eight-count indictment.       Defendant agrees to plea guilty to count one of the
16   indictment.
17             Count one charges defendant, and 120 other defendants, of knowingly and
18   intentionally conspire, combine, and agree together and with each other and others
19   known and unknown to Grand Jury, to commit offenses against the United States,
20   that is, to possess with intent to distribute one kilogram of heroin, a Schedule I,
21   Narcotic Drug Controlled Substance; 50 grams or more of cocaine base (hereinafter
22   referred to as “crack”), a Schedule II, Narcotic Drug Controlled Substance; five
23   kilograms or more of cocaine, a Schedule II, Narcotic Drug Controlled Substance,
24   and detectable amounts of marihuana, a schedule I, Controlled Substance, all in
25   violation of 21 U.S.C. §§ 846, 841(a)(1), and 860.
26             The defendant filed a motion for change of plea on June 9, 2008. (Docket No.
27   1020.)
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     II.    Consent to Proceed Before a Magistrate Judge
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            On June 23, 2008, while assisted by Rosa Bonini, Esq., the defendant, by
 5
     consent, appeared before me in order to change his previous not guilty plea to a plea
 6
     of guilty as to the indictment.
 7
            In open court the defendant was questioned as to the purpose of the hearing
 8
     being held. The defendant responded that the purpose of the hearing was to plead
 9
     guilty. The defendant was advised of his right to have all proceedings, including the
10
     change of plea hearing, before a United States district judge. Defendant was given
11
     notice of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
12
     were to be conducted under oath and that it was expected that his answers would
13
     be truthful (he was also explained that the consequences of lying under oath could
14
     lead to a perjury charge); and (c) his right to have the change of plea proceedings
15
     presided over by a district judge instead of a magistrate judge. The defendant was
16
     also explained the differences between the appointment and functions of the two.
17
     The defendant consent to proceed before this magistrate judge.
18
     III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure
19
            A. Compliance With Requirements Rule 11(c)(1)
20
                   Rule 11 of the Federal Rules of Criminal Procedure governs the
21          acceptance of guilty pleas to federal criminal violations. Pursuant to
            Rule 11, in order for a plea of guilty to constitute a valid waiver of the
22          defendant’s right to trial, guilty pleas must be knowing and voluntary:
            “Rule 11 was intended to ensure that a defendant who pleads guilty
23          does so with an ‘understanding of the nature of the charge and
            consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4
24          (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467
            (1969)). [There are three core concerns in these proceedings]: 1)
25          absence of coercion; 2) understanding of the charges; and 3) knowledge
            of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
26          F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st
            Cir. 1991)).
27
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
28
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           In response to further questioning, defendant was explained and he
 4
     understood that if convicted on count one, he may be sentenced to a term of
 5
     imprisonment of not less than 10 years and up to life imprisonment, a fine not to
 6
     exceed $4,000,000, and a term of supervised release of at least 10 years, all
 7
     pursuant 21 U.S.C. §§ 841(b)(1)(A) and 860.
 8
           Based on the stipulated and agreed amount of narcotics possessed by the
 9
     defendant, the penalty for the offense shall be, a term of imprisonment of not less
10
     than five years and not more than 80 years, a fine not to exceed $2,000,000, and a
11
     term of supervised release of at least eight years, all pursuant to 21 U.S.C. §§
12
     841(b)(1)(B) and 860.
13
           Should defendant meet all the requirements of the “safety valve” provisions
14
     of U.S.S.G. § 5C1.2, then the defendant would be entitled to a further two level
15
     reduction in the base offense level.
16
           Prior to defendant’s change of plea hearing, he shall pay a special assessment
17
     of $100, per count, as required by 18 U.S.C. § 3013(a).
18
           The defendant is aware that the court may order him to pay a fine sufficient
19
     to reimburse the government for the costs of any imprisonment, probation or
20
     supervised release. The defendant is aware that in some instances, the court may
21
     impose restitution to the victim. As part of this plea agreement, and should the
22
     court impose restitution upon the defendant, the defendant agrees to produce
23
     complete information regarding all restitution victims and defendant agrees to
24
     execute a financial statement to the United States.
25
           Defendant was advised that the ultimate sentence was a matter solely for the
26
     court to decide in its discretion and that, even if the maximum imprisonment term
27
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     and fine were to be imposed upon him, he later could not withdraw his guilty plea
 4
     if he was unhappy with the sentence of the court. The defendant understood this.
 5
           Defendant was explained what the supervised release term means. It was
 6
     emphasized that cooperation with the United States Probation officer would assist
 7
     the court in reaching a fair sentence.
 8
           Emphasis was made on the fact that at this stage, no prediction or promises
 9
     as to the sentence to be imposed could be made by anyone. Defendant responded to
10
     questions in that no promises, threats, inducements or predictions as to what
11
     sentence will be imposed have been made to him.
12
           B. Admonishment of Constitutional Rights
13
           To assure defendant’s understanding and awareness of his rights, defendant
14
     was advised of his right:
15
           1.   To remain silent at trial and be presumed innocent, since it is the
16
     government who has the burden of proving his guilt beyond a reasonable doubt.
17
           2.   To testify or not to testify at trial, and that no comment could be made by
18
     the prosecution in relation to his decision not to testify.
19
           3.   To a speedy trial before a district judge and a jury, at which he would be
20
     entitled to see and cross examine the government witnesses, present evidence on his
21
     behalf, and challenge the government’s evidence.
22
           4.   To have a unanimous verdict rendered by a jury of twelve persons which
23
     would have to be convinced of defendant’s guilt beyond a reasonable doubt by means
24
     of competent evidence.
25
           5.   To use the subpoena power of the court to compel the attendance of
26
     witnesses.
27
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 3
           Upon listening to the defendant’s responses, observing his demeanor and his
 4
     speaking with his attorney, that to the best of counsel’s belief defendant had fully
 5
     understood his rights, it is determined that defendant is aware of his constitutional
 6
     rights.
 7
           C. Consequences of Pleading Guilty
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           Upon advising defendant of his constitutional rights, he was further advised
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     of the consequences of pleading guilty. Specifically, defendant was advised that by
10
     pleading guilty and upon having his guilty plea accepted by the court, he will be
11
     giving up the above rights and would be convicted solely on his statement that he is
12
     guilty.
13
           Furthermore, the defendant was admonished of the fact that by pleading guilty
14
     he would not be allowed later on to withdraw his plea because he eventually might
15
     disagree with the sentence imposed, and that when he were under supervised
16
     release, and upon violating the conditions of such release, that privilege could be
17
     revoked and he could be required to serve an additional term of imprisonment. He
18
     was also explained that parole has been abolished.
19
           D. Plea Agreement
20
           The parties have entered into a written plea agreement that, upon being signed
21
     by the government, defense attorney and defendant, was filed and made part of the
22
     record. Defendant was clearly warned and recognized having understood that:
23
           1.   The plea agreement is not binding upon the sentencing court.
24
           2.   The plea agreement is an “agreement” between the defendant, defense
25
     attorney and the attorney for the government which is presented as a
26
     recommendation to the court in regards to the applicable sentencing adjustments
27
     and guidelines, which are advisory.
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 3
           3.   The agreement provides a sentencing recommendation and/or anticipated
 4
     sentencing guideline computation, that can be either accepted or rejected by the
 5
     sentencing court.
 6
           4.   In spite of the plea agreement and any sentencing recommendation
 7
     contained therein, the sentencing court retains full discretion to reject such plea
 8
     agreement and impose any sentence up to the possible maximum penalty prescribed
 9
     by statute.
10
           5.   The defendant understands that if the court accepts this agreement and
11
     sentences defendant according to its terms and conditions, defendant waives and
12
     surrenders his right to appeal the conviction and sentence in this case.
13
           Defendant acknowledged having understood this explanation.
14
           E. Government's Evidence (Basis in Fact)
15
           The government presented a proffer of its evidence with which the defendant
16
     basically concurred.
17
           Accordingly, it is determined that there is a basis in fact and evidence to
18
     establish all elements of the offense charged.
19
           F. Voluntariness
20
           The defendant accepted that no leniency had been promised, no threats had
21
     been made to induce him to plead guilty and that he did not feel pressured to plead
22
     guilty. He came to the hearing for the purpose of pleading guilty and listened
23
     attentively as the prosecutor outlined the facts which it would prove if the case had
24
     proceeded to trial.
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     IV.   Conclusion
 4
           The defendant, by consent, has appeared before me pursuant to Rule 11,
 5
     Federal Rules of Criminal Procedure, and has entered a plea of guilty as to count one
 6
     of the indictment.
 7
           After cautioning and examining the defendant under oath and in open court,
 8
     concerning each of the subject matters mentioned in Rule 11, as described in the
 9
     preceding sections, I find that the defendant José Sierra Colón is competent to enter
10
     this guilty plea, is aware of the nature of the offense charged and the maximum
11
     statutory penalties that the same carries, understands that the charge is supported
12
     by the government’s evidence, has admitted to every element of the offense charged,
13
     and has done so in an intelligent and voluntary manner with full knowledge of the
14
     consequences of his guilty plea.
15
           Therefore, I recommend that the court accept the guilty plea of the defendant
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     and that the defendant be adjudged guilty as to count one of the indictment. At
17
     sentencing, the United States agrees to recommend the dismissal of the remaining
18
     counts against the defendant.
19
           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B)
20
     and Rule 72(d) of the Local Rules of Court. Any objections to the same must be
21
     specific and must be filed with the Clerk of Court within five (5) days of its receipt.
22
     Rule 510.1, Local Rules of Court; Fed. R. Civ. P. 72(b). Failure to timely file specific
23
     objections to the report and recommendation is a waiver of the right to review by the
24
     district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
25
           At San Juan, Puerto Rico, this 24th day of June, 2008.
26
27                                                S/ JUSTO ARENAS
                                         Chief United States Magistrate Judge
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